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         Nicki Minaj sued by a guard after her husband brutally assaulted a guard, breaking his jaw, resulting in a valid arrest
         warrant issued in Germany.
         According to legal documents obtained by The Blast, Thomas Weidenmuller is suing the rapper for battery and
         mental harm. In the documentation, Weidenmüller claims to have worked as head of security at Nicki’s 2019 concert
         in Frankfurt, Germany.
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         During the concert, the fan was able to bypass security and gain access to the stage. Of course, this infuriated Minaj
         after “a concert goer broke through the security barricade separating the audience from the stage and was able to
         enter the stage during Minaj’s performance. Passing to the stage, a concert visitor passed a female security guard
         standing at the stairs leading to the stage.

         Nicki Minaj accused of assaulting a security guard after a
         concert




         Mega
Case 1:21-cv-04568-ENV-JRC Document 66-17 Filed 02/14/22 Page 5 of 19 PageID #: 1050
         The guard claims that “the concert goer did not harm anyone else or damage any property during or after his limited
         time on stage. He just danced on stage to the music. He didn’t try and actually make physical contact with Minaj on
         stage.”
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         After the show, Thomas claims that Nicki Minaj and the “significant” entourage clashed with a female security guard
         about the incident, so he joined the conversation as head of security.
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         Nicki was “angry during this confrontation and yelled at the female security guard that she was acting like a bitch and
         accused her of putting Minaj in physical danger. During the confrontation, the female security guard burst into tears
         and apologized to Minaj,” the lawsuit says.
         Nicki Minaj’s husband is accused of hitting a security guard
         and breaking his jaw
Case 1:21-cv-04568-ENV-JRC Document 66-17 Filed 02/14/22 Page 6 of 19 PageID #: 1051




         Mega
         At the time, Minaj was reportedly unhappy with the apology and began filming the interaction, demanding the woman
         “tell Minaj fans via tape that she didn’t do her job and put Minaj in danger.” As the groups dispersed, Minaj allegedly
         “thrown her shoes” at a security guard, but missed.
         After the incident, Weidenmüller claims he was called backstage after the concert to speak with the artist. Nicky’s
         then-boyfriend Kenneth Petty, approached him with Minaj and two other personal bodyguards. According to the
         lawsuit, Minaj began to shower him with insults and obscenities, again accusing him of having a physical or romantic
         relationship with another female security guard.

         Guard hospitalized for TEN days after brutal attack
Case 1:21-cv-04568-ENV-JRC Document 66-17 Filed 02/14/22 Page 7 of 19 PageID #: 1052




         Mega
         “Without warning, Petty DELETED Weidenmüller from the side and hit the right side [his] face, he says. At the time,
         according to the man, he “immediately felt intense pain and was momentarily disoriented, and had to step aside
         around a corner to collect himself.” He continued: “After two or three minutes, believing that his jaw was broken,
         Weidenmüller turned the corner again, returning to the place where Petty hit him.”
         It is reported that the police were called to the scene, and a criminal case was opened.
         Due to the severity of his injuries, the man was allegedly hospitalized for ten days and “as a result of the brutal
         attack, Petty suffered a broken jaw”.

         Nicki Minaj’s husband Kenneth Petty reportedly has a
         warrant for his arrest in Germany
Case 1:21-cv-04568-ENV-JRC Document 66-17 Filed 02/14/22 Page 8 of 19 PageID #: 1053
                  Nicki Minaj sued over husband's alleged brutal attack on German security guard




         Mega
         “After being discharged from the hospital, he was unable to eat solid food for some time and had to sleep in an
         upright position, because if he lay down horizontally, the concussion he received would have given him severe
         headaches,” he said. he.
         Amazingly, Weidenmuller says he has had EIGHT facial surgeries and now has “five plates in his jaw.”
         Kenneth Petty reportedly has a warrant for his arrest in Germany to this day following a criminal investigation into the
         attack.

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 Nicki Minaj Sued Over Husband’s
 Alleged BRUTAL Attack On
 Security Guard
by Mike Walters (https://theblast.com/author/mike-walters/) Posted on January 27, 2022 at 4:14 pm
      Case 1:21-cv-04568-ENV-JRC Document 66-17 Filed 02/14/22 Page 10 of 19 PageID #:
                                          1055


Nicki Minaj (https://theblast.com/web-stories/nicki-minaj-and-husband-want-to-sanction-rape- X
victim/)is being sued by a security guard after her husband brutally attacked a security guard,
breaking his jaw, resulting in an active arrest warrant in Germany.


According to legal documents, obtained by The Blast, Thomas Weidenmuller is suing$33.25
                                                                                  the
                                                                                        SHOPhe
rapper for battery and infliction of emotional distress. In the filing, Weidenmuller claims  NOW
                                                                                               was
working as head of security for Nicki’s 2019 concert in Frankfurt, Germany.

                                             ADVERTISING




During the concert, a fan was able to bypass security and gain access to the stage. Of course,
this enraged Minaj after the “concert-goer breached a security barricade dividing the audience
from the stage and was able to get on stage while Minaj was performing.
(https://ew.com/music/nicki-minaj-drops-out-of-mtv-vmas/) In obtaining access to the stage, the
concert-goer bypassed a female security guard stationed at the stairs leading to the stage.”


Nicki Minaj Accused Of Attacking Female Security Guard After
Concert
Case 1:21-cv-04568-ENV-JRC Document 66-17 Filed 02/14/22 Page 11 of 19 PageID #:
                                    1056


                                                                                     X




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                                            1057


                                                                                                 X




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The security guard claims “the concert-goer did not cause harm to any other person, norNOW
                                                                                        did he
damage any property during or after his limited time on stage. He simply danced on stage to
the music. He did not attempt to, and did not actually, make any physical contact with Minaj
while on stage.”




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Following the show, Thomas alleges that Nicki Minaj (https://theblast.com/c/nicki-minaj-
husband-kenneth-petty-facing-10-years-prison-sex-offender/) and a “substantial” entourage
confronted the female security guard about the incident, so he joined the conversation as head
of security.


Nicki was “irate during this confrontation and screamed at the female security guard that she
was a f—ing bitch and accused her of having put Minaj in physical danger. During the
confrontation, the female security guard was in tears and apologized to Minaj,” according to the
suit.
    Case 1:21-cv-04568-ENV-JRC Document 66-17 Filed 02/14/22 Page 13 of 19 PageID #:
                                        1058


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Nicki Minaj’s Husband Accused Of Punching Security Guard,
Breaking His Jaw
      Case 1:21-cv-04568-ENV-JRC Document 66-17 Filed 02/14/22 Page 14 of 19 PageID #:
                                          1059


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At the time, Minaj was reportedly unsatisfied with the apology and began filming the interaction
— demanding the woman “tell Minaj’s fans, via the recording, that she failed to do her job and
put Minaj in danger.” As the groups were separated, Minaj allegedly “threw her shoes” at the
      Case 1:21-cv-04568-ENV-JRC Document 66-17 Filed 02/14/22 Page 15 of 19 PageID #:
                                          1060


security guard, but missed.                                                                     X


Following the incident, Weidenmuller claims he was summoned backstage following the concert
to speak with the artist. Nicki’s then-boyfriend, Kenneth Petty
                                                                                    $33.25
(https://theblast.com/139148/nicki-minaj-shocks-straddling-supersized-teddy-in-birthday-suit-
                                                                                SHOP
pictures/), approached him with Minaj and two other personal bodyguards. According    NOW
                                                                                   to the
suit, Minaj started hurling insults and obscenities at him, again, accusing him of having a
physical or romantic relationship with the other female security guard.


Security Guard Hospitalized for TEN Days Following Brutal
Attack
      Case 1:21-cv-04568-ENV-JRC Document 66-17 Filed 02/14/22 Page 16 of 19 PageID #:
                                          1061


                                                                                                X




                                                                                     $33.25
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“Without warning, Petty PUNCHED Weidenmuller from the side and made contact with the right
side of [his] face,” he says. At the time, the man says he was “instantly in extreme pain and was
momentarily disoriented and had to step aside, around the corner, to collect himself.” He
      Case 1:21-cv-04568-ENV-JRC Document 66-17 Filed 02/14/22 Page 17 of 19 PageID #:
                                          1062


continued, “After two or three minutes, and under the belief that his jaw was broken,            X
Weidenmuller turned the corner again, returning to the location where Petty hit him.”


The police were reportedly called to the scene, and a criminal investigation
                                                                                   $33.25
(https://theblast.com/139381/nicki-minajs-attorney-ask-to-sanction-husbands-rape-victim-for-
inconsistencies-and-falsehoods/) was launched.                                      SHOP NOW




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Due to the severity of the injuries, the man was allegedly hospitalized for ten days and
“sustained a broken jaw as a result of Petty’s brutal attack.”


Nicki Minaj’s Husband, Kenneth Petty, Reportedly Has Warrant
For His Arrest In Germany
      Case 1:21-cv-04568-ENV-JRC Document 66-17 Filed 02/14/22 Page 18 of 19 PageID #:
                                          1063


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                                                                                     $33.25
                                                                                    SHOP NOW




                                              Mega


“Following his discharge from the hospital, he was unable to eat solid foods for some time and
required to sleep upright because, if he laid down horizontally, the concussion that he sustained
would cause him to experience extreme headaches,” he reported.
       Case 1:21-cv-04568-ENV-JRC Document 66-17 Filed 02/14/22 Page 19 of 19 PageID #:
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Shockingly, Weidenmuller says he endured EIGHT surgeries on his face and now has “five                       X
plates in his jaw.”


Kenneth Petty (https://people.com/music/nicki-minaj-lawsuit-dropped-by-husband-kenneth-
petty-alleged-rape-victim/) reportedly has a warrant out for his arrest in Germany, to $33.25
                                                                                       this day,
after a criminal investigation into the attack.                                                 SHOP NOW




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